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                                                                                    RICHARD JONES
                                                                                   CLERK OF COURT
                                                                               U.S. BANKRUPTCY COURT
                         UNITED ST ATES BANKRUPTCY COURT

                       SOUTHERN DISTRICT OF OHIO (DAYTON)

INRE:                                         *              CASE NO. 19-30822

T AGNETICS INC .                              *              JUDGE HUMPHREY

        INVOLUNTARY DEBTOR                    *              CHAPTER 7


 MOTION TO WITHDRAW FROM BAKRUPTCY PROCEEDINGS OF PETITIONING
                   CREDITOR ROBERT STRAIN

       Now comes the Petitioning Creditor ROBERT STRAIN, and does hereby move this
Court to allow Robert Strain' s withdraw as a petitioning creditor in the above entitled case.

                               MEMORANDUM IN SUPPORT

       Robert Strain's claim in this case has reached a settlement. As Robert Strain ' s Claim has
been paid in full it is hereby requested that the Court issue an order approving the Motion of
Robert Strain to Withdraw from the Bankruptcy Proceedings as per the telephonic pretrial
conference held on July 19, 2019.


Dated: 7/19/2019                               Respectfully submitted,
                                               /s/ Robert Strain




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                                          CERIJEJCAJE QE SERVICE
        I hereby certify that this document was served by email (when the email address of the

party was available to me) and regular U. S. mail this day of July 19, 2019 upon the following :

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                                                     Isl Robert Strain




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